Case 4:19-cv-00494-SDJ-CAN Document 103 Filed 09/17/20 Page 1 of 4 PageID #: 766




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  CRAIG CUNNINGHAM,                                §
                                                   §
                 Plaintiff,                        §
                                                   §
         v.                                        §
                                                   §
  MANESSEH JORDAN MINISTRIES, INC.;                §
  BUILLON FITNESS INC.; KINGDOM                    § CASE NO.: 4:19-cv-00494-SDJ-CAN
  MINISTRIES CHURCH INC.; YAKIM                    §
  MANESSEH JORDAN a/k/a MANESSEH                   §
  JORDAN; MJ MINISTRIES SPREADING                  §
  THE GOSPEL, INC.; and JOHN AND                   §
  JANE DOES 1-5,                                   §
                                                   §
                 Defendants.                       §

      DEFENDANT MJ MINISTRIES SPREADING THE GOSPEL, INC’S NOTICE
                 REGARDING STATUS OF SETTLEMENT

        Defendant MJ Ministries Spreading the Gospel, Inc. (“MJ Ministries” or “Defendant”)

 hereby files this Notice regarding the status of the settlement reached between the parties as

 required by the Court’s August 19, 2020 Order (ECF No. 102):

        1.      On August 5, 2020, the Court stayed this matter so that the parties could pursue

 resolution through mediation. (ECF No. 98).

        2.      The parties attended a mediation with the Honorable James Jordan (Ret.) on August

 17, 2020.

        3.      The parties agreed to resolve the matter at the mediation and signed a Mediated

 Agreement on August 17, 2020 setting forth the terms of the settlement.

        4.      Two days after the parties entered the Mediated Agreement, on August 19, 2020,

 Plaintiff sent counsel for MJ Ministries an email attempting to revisit the terms of the agreed upon

 Mediated Agreement.


 NOTICE CONCERNING SETTLEMENT                                                            PAGE 1 OF 4
Case 4:19-cv-00494-SDJ-CAN Document 103 Filed 09/17/20 Page 2 of 4 PageID #: 767




         5.      Counsel for MJ Ministries advised that the Mediated Agreement was binding and

 that MJ Ministries would seek to enforce same with the Court if Plaintiff refused to abide by the

 Mediated Agreement.

         6.      On August 31, 2020, counsel for MJ Ministries sent Plaintiff Craig Cunningham a

 proposed Settlement and Release Agreement (“Release”).

         7.      Plaintiff objected to certain provisions of the Release and sent his proposed revisions

 to counsel on August 31, 2020.

         8.      Thereafter, Plaintiff and Roy Matthews, MJ Ministries counsel, had numerous

 conversations and email exchanges concerning the terms of the Release between August 31, 2020

 and September 8, 2020.

         9.      Plaintiff sent additional revisions to the proposed Release on September 8, 2020.

         10.     Mr. Matthews and Plaintiff had additional conversations concerning Plaintiff’s

 September 8, 2020 revisions.

         11.     Mr. Matthews’ last day with Gordon Rees Scully Mansukhani was September 11,

 2020. Mr. Matthews advised Plaintiff to contact Sara Anderson Frey, Esquire of the Philadelphia,

 Pennsylvania office of Gordon Rees Scully Mansukhani to finalize the Release.

         12.     Plaintiff sent an email Ms. Frey on Friday, September 11, 2020. Ms. Frey was out

 of state, in Arizona, for a family event.

         13.     Plaintiff then left one voicemail on Ms. Frey’s office line on September 14, 2020.

 Ms. Frey responded by email advising that she was returning from an out of state trip and would

 respond when she returned home.




 NOTICE CONCERNING SETTLEMENT                                                               PAGE 2 OF 4
Case 4:19-cv-00494-SDJ-CAN Document 103 Filed 09/17/20 Page 3 of 4 PageID #: 768




         14.     After returning home on September 15, 2020, Ms. Frey proceeded to investigate the

 status of Mr. Matthews’ communications with Plaintiff and her clients and to seek another attorney

 from the firm’s Dallas, Texas office to act as local counsel in Mr. Matthews’ absence.

         15.     On September 17, 2020, Ms. Frey sent Plaintiff what she believed was the latest

 version of the Release. In response, Plaintiff sent back a redlined version again attempting to add

 terms to the Release which were not agreed upon in the Mediated Agreement.

         16.     Ms. Frey and Plaintiff had several conversations by telephone and email on

 September 17, 2020 in an attempt to finalize the Release and exchanged multiple drafts of the

 Release.

         17.     While the parties have come close to finalizing the Release, there are a few provisions

 which the parties are still attempting to resolve.

         18.     Defendant has acted in good faith in an attempt to finalize a Release which is

 consistent with the parties’ Mediated Agreement.

         19.     Defendant believes that the parties will be able to resolve their issues and requests an

 additional two (2) weeks to finalize the Release.



 DATED THIS 17TH DATE OF SEPTEMBER, 2020.

                                                 Respectfully submitted,

                                                 GORDON & REES, LLP

                                                 /s/ Jason Irvin
                                                 JASON IRVIN
                                                 State Bar No.
                                                 jirvin@grsm.com

                                                 2200 Ross Avenue, Suite 3700
                                                 Dallas, Texas 75201
                                                 (214) 231-4660 Telephone



 NOTICE CONCERNING SETTLEMENT                                                                PAGE 3 OF 4
Case 4:19-cv-00494-SDJ-CAN Document 103 Filed 09/17/20 Page 4 of 4 PageID #: 769




                                           (214) 461-4053 Facsimile

                                           ATTORNEY FOR DEFENDANT
                                           MJ MINISTRIES SPREADING THE GOSPEL,
                                           INC.




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 17, 2020, a true and correct copy of the foregoing
 document was served on Plaintiff via First Class Mail and email to the following address:

                                    Craig Cunningham
                              3000 Custer Road, Suite 270-206
                                     Plano, TX 75075


                                           /s/ Jason Irvin
                                           JASON IRVIN




 NOTICE CONCERNING SETTLEMENT                                                    PAGE 4 OF 4
